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    EXHIBIT 1
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                        CERTIFICATION BY TRANSLATOR


I, Aleksei Timashkov, certify that I am competent to translate in the English and Russian
languages and that the above/attached document is a complete and accurate translation of the
above/attached document.


This document has not been translated for a family member, friend, or business associate.




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                                                                            [Translated from Russian]

                                               AGREEMENT
City of Moscow                                                                       November 18, 2011

        Open Joint-Stock Company “Sberbank of Russia,” OJSC “Sberbank of Russia,”
hereinafter referred to as “Party 1,” represented by Deputy Chairman of the Board Stanislav
Konstantinovich Kuznetsov, acting under Power of Attorney No. 01-1/1025 dated November 10,
2010, on the one hand, and
        Bilalov Akhmed Gadzhievich, passport: series 45 98 number 341999, issued by Police
Department 47 of the city of Moscow on February 16, 1999, registered at the address: the city of
Sochi, Inzhirny Alley, 25, hereinafter referred to as “Party 2,”
        hereinafter collectively referred to as “the Parties,” have concluded this Agreement
(hereinafter referred to as the “Agreement”) on the following:
        Considering:
    1. The availability of offers from Party 1 regarding the interest of foreign investors in
        participating in the project OJSC “Krasnaya Polyana”;
    2. The Parties are shareholders of the OJSC “Krasnaya Polyana” project either directly or
        through affiliated entities;
    3. The need to attract additional equity capital into the project in accordance with the loan
        documentation.
        The Parties have agreed on the following:
        Party 1 undertakes to assist Party 2 in attracting new investments into the OJSC “Krasnaya
Polyana” project, contributing to the resolution of administrative matters, given the presence of a
majority government share in the organization's equity capital.
        Party 1 undertakes not to interfere with Party 2’s transfer of shares in OJSC “Krasnaya
Polyana” to new foreign investors for capital investment in the project, and during the corporate
procedures, to give appropriate instructions to its representatives, provided that the amount of
attracted investments is calculated based on the project value of no less than two billion US dollars.
        All disputes arising in connection with this Agreement and/or the procedure for attracting new
investors will be governed in accordance with the laws of the State of New York.

                                          Signatures of the Parties:

Party 1                                                                Party 2
OJSC “Sberbank of Russia”                                              Akhmed Gadzhievich Bilalov
[Signature] S.K. Kuznetsov                                             [Signature] A.G. Bilalov
  [Round stamp with the Logo of OJSC
 “Sberbank of Russia”: Open Joint-Stock
 Company “Sberbank of Russia” / City of
               Moscow]


Witness 1                                                              Witness 2
Andrey Alekseevich Stroev                                              Magomed Gadzhievich Bilalov
[Signature]                                                            [Signature]
